8:06-cr-00153-LSC-TDT           Doc # 142   Filed: 11/22/06       Page 1 of 1 - Page ID # 451




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED      STATES         OF   AMERICA,          )            CASE NO. 8:06CR153
                                                  )
              Plaintiff,                          )
                                                  )
              vs.                                 )
                                                  )                    ORDER
DILLARD HILL,                                     )
                                                  )
              Defendant.                          )

       This matter is before the Court on the Defendant’s motion to surrender immediately

(Filing No. 141).

       IT IS ORDERED:

       1.     The Defendant’s motion to surrender immediately (Filing No. 141) is granted;

              and

       2.     The Defendant shall surrender as soon as practicable to the Office of the

              United States Marshal, 111 S. 18th Plaza, Suite B06, Omaha, Nebraska,

              68102, to begin serving his sentence with the United States Bureau of

              Prisons; and

       3.     The Clerk is directed to deliver a certified copy of this Order to the United

              States Marshal for this district.

       DATED this 22nd day of November, 2006.

                                                      BY THE COURT:

                                                      S/Laurie Smith Camp
                                                      United States District Judge
